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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION


COURTNEY ELSTON, individually and on behalf
of similarly situated employees,

               Plaintiff,
vs.                                                         CASE NO.:

TOP 1 PERCENT COACHING, LLC, a Florida
limited liability company, and JUSTIN T. FOXX,
individually.

            Defendants.
_______________________________________________/

                            COLLECTIVE ACTION COMPLAINT

         COMES NOW the Plaintiff, COURTNEY ELSTON, individually and on behalf of

similarly situated employees (“Elston”), and hereby sues the Defendants, TOP 1 PERCENT

COACHING, LLC, a Florida limited liability company (“Top 1%”) and JUSTIN T. FOXX

(“Foxx”) as follows:

         1.    Congress designed the Fair Labor Standards Act of 1938 (“FLSA”) to remedy

situations “detrimental to the maintenance of the minimum standard of living necessary for health,

efficiency, and general well-being of workers.” 29 U.S.C. § 202(a). To achieve this broad

remedial purpose, the FLSA establishes minimum wage and overtime requirements for covered

employees. 29 U.S.C. §§ 206, 207. These provisions, coupled with an effective integrated cause

of action within the FLSA, prevent employers from pilfering the wages rightfully earned by their

employees. See, Billingsley v. Citi Trends, Inc., 13-12561, 2014 WL 1199501 (11th Cir. Mar. 25,

2014).

         2.    This case implicates Top 1%, a business that sells wealth coaching and consulting

services throughout the world.
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       3.       Foxx is the CEO of Top 1%, and together, Foxx and Top 1% shall be referred to as

“Defendants.”

       4.       Defendants have a long-standing policy of misclassifying their employees as

independent contractors.

       5.       Defendants required and/or permitted Plaintiff to work as event coordinator for up

to and in excess of forty (40) hours per week but refused to compensate her at the applicable wage

and overtime rate.

       6.       Defendants refused and/or failed to compensate Plaintiff with a wage, failed to pay

Plaintiff on a salary basis, and failed to pay Plaintiff for overtime hours they worked for the three

years leading up to this Complaint.

       7.       In fact, Defendants required Plaintiff to establish a limited liability company and

then paid such company, in order to avoid paying overtime wages to Plaintiff, as well as FICA,

Medicare and social security taxes on behalf of Elston.

       8.       Defendants’ conduct violates the FLSA, which requires non-exempt employees,

such as Plaintiff, to be compensated for the overtime hours worked at a rate of one and one-half

times the regular rate of pay. See 29 U.S.C. § 207(a).

       9.       Furthermore, Defendants’ practice of failing to pay employees pursuant to 29

U.S.C. § 203(m), violates the FLSA’s minimum wage provision. See 29 U.S.C. §§ 203, 206.

      10.       Plaintiff brings a collective action to recover the unpaid wages owed to her and all

other similarly situated employees who are current and former employees for Defendants who

worked for Defendants at any time during the three year period before this Complaint is filed in

this action, up to the present (“FLSA Members”).
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      11.      These FLSA Members should be informed of the pendency of this action and

apprised of their rights to join in the manner envisioned by Hoffman-La Roche Inc. v. Sperling,

493 U.S. 165 (1989) and its progeny.

                    SUBJECT MATTER JURISDICTION AND VENUE

       12.     This Court has jurisdiction over the subject matter of this action under 29 U.S.C. §

216(b) and 28 U.S.C. § 1331.

       13.     This Court has the authority to grant declaratory relief pursuant to the FLSA and

the Federal Declaratory Judgment Act (“DJA”), 28 U.S.C. §§ 2201-02.

       14.     Venue is proper in the Middle District of Florida because a substantial portion of

the events forming the basis of this suit occurred in this District as the Defendants’ residence and

principle place of business are located in this District in Lee County, Florida.

                        PARTIES AND PERSONAL JURISDICTION

       15.     Elston is an individual residing in Lee County, Florida.

       16.     The FLSA Members are all persons who worked for the Defendants during the past

three years through a final judgment in this matter, whom Defendants failed to pay a wage and

overtime wages, and who filed a consent to join this collective action.

       17.     Top 1% is a domestic limited liability company doing business in Florida for the

purpose of accumulating monetary profit and has its principle place of business in Lee County,

Florida.

       18.     Foxx is an individual who is a resident of Lee County, Florida.

     ALLEGATIONS RELEVANT TO COUNTS I AND II FOR FLSA VIOLATIONS

       19.     Plaintiff and FSLA Members are employees as defined by the FLSA.
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        20.     Defendants have utilized contracts and other mechanisms by which to control the

manner in which the Plaintiff and FLSA Members perform their duties for the Defendants.

        21.     Defendants controlled the time in which Plaintiff and FLSA Members were

required to report to work, leave work, take breaks, take sick leave and take vacation leave.

        22.     Defendants essentially required Plaintiff and FLSA Members to work regular hours

during the weekdays, and further required Plaintiff and FLSA Members to work overtime hours

during the weekdays and weekends for the purpose of planning events, coordinating events,

responding to emails from Foxx and other employees and staff, responding to questions from

customers, respond to text messages and answer phone calls, all after hours and in excess of 40

hours per week.

        23.     Defendants controlled the work to be performed by Plaintiff and FLSA Members

by assigning to them their responsibilities and the time-frame within which to complete such

responsibilities.

        24.     Defendants prohibited Plaintiff and FLSA Members from providing services to

other organizations.

        25.     Defendants controlled and owned the work product of Plaintiff and FLSA

Members.

        26.     Defendants required Plaintiff and FLSA Members to abide by the policies and

procedures established by Defendants.

        27.     Defendants controlled and owned all paperwork and files used by Plaintiff and

FLSA Members in performing their jobs.

        28.     Defendants prohibited Plaintiff and FLSA Members from conducting business with

customers of Top 1% outside of business hours and business-related activities.
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        29.     Defendants prohibited Plaintiff and FLSA Members from fraternizing and

socializing with customers, even through social media, outside of Top 1% business.

        30.     Defendants even prohibited Plaintiff and FLSA Members from referring customers

to third parties.

        31.     Plaintiff and FLSA Members were not even permitted to sale products to customers

without the express permission of Defendants, and were required to cease all communications with

customers once they quit working for Defendants.

        32.     Plaintiff and FLSA Members provided no independent service or product as

Defendants “owned” all customers, students, products, work product, and other services.

        33.     Defendants prohibited Plaintiff and FLSA Members from disclosing information

identified by Defendants to third parties.

        34.     Defendants required Plaintiff and FLSA Members to use company logos and email

addresses when conducting business with students/customers.

        35.     Defendants controlled the materials the Plaintiff and FLSA Members used to

perform their duties.

        36.     Defendants controlled the time and place wherein the Plaintiff and FLSA Members

could provide their services.

        37.     Defendants owned and controlled the furnishings and equipment Plaintiff and

FLSA Members used to perform their duties for Top 1%.

        38.     Defendants controlled when, where and how the Plaintiff and FLSA Members

interacted with the Defendants’ students and customers.

        39.     Defendants required the Plaintiff and FLSA Members to travel to the Defendants’

events in other parts of the nation and world.
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       40.     Defendants required Plaintiff and FLSA Members to answer email, text messages

and phone calls after company hours, before company hours and on weekends.

       41.     Defendants required the Plaintiff and FLSA Members to market and advertise the

Defendants’ products and merchandise to Defendants’ current students and potential students.

       42.     Defendants controlled the services Plaintiff and FLSA Members provided, as well

as the fees charged to Defendants’ students and customers.

       43.     Defendants controlled the manner in which Plaintiff and FLSA Members talked

about or otherwise discussed the Defendants, and even penalized them with a $75,000 fee.

       44.     Defendants even offered and controlled the appeals process Plaintiff and FLSA

Members were to use when terminated from the company.

       45.     Plaintiff and FLSA Members were and are an integral part of the Defendants’

business, as events provide a substantial part of the revenues for Defendants.

       46.     In fact, the current Chief Financial Officer and Chief Operating Officer, and

previous Chief Executive Officers were all classified by Defendants as independent contractors as

opposed to employees.

       47.     Defendants have improperly classified Plaintiff and FLSA Members as

independent contractors when they should have classified and paid them as employees.

       48.     While Defendants paid separate companies belonging to Plaintiff and FSLA

Members on a 1099 basis, they have failed to pay the Plaintiff and FLSA Members a legal wage

and overtime wages as employees, and have failed to properly withhold federal income taxes, and

social security and FICA withholdings in violation of 29 U.S.C.§ 201 et seq.

       49.     Plaintiff and FLSA Members are not exempt employees per Section 13(a)(1) of the

FLSA as they have not been paid on a salary basis.
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       50.     In a FLSA case, the following elements must be met: “(1) [plaintiff] is employed

by the defendant, (2) the defendant engaged in interstate commerce, and (3) the defendant failed

to pay [plaintiff] minimum or overtime wages.” Freeman v. Key Largo Volunteer Fire & Rescue

Dept., Inc., 494 Fed. Appx. 940, 942 (11th Cir. 2012) cert. denied, 134 S. Ct. 62, (U.S. 2013).

       51.     “To be ‘employed’ includes when an employer ‘suffer[s] or permit[s] [the

employee] to work.’” Id. at 942 (citing 29 U.S.C. § 203(g)). “To determine if an individual is an

employee, ‘we look at the economic reality of all the circumstances’ surrounding the activity.” Id.

(citing Brouwer, 139 F.3d at 819). “We refer to this test as the ‘economic reality’ test.” Id. (citing

Villarreal v. Woodham, 113 F.3d 202, 205 (11th Cir.1997)). “The touchstone of the economic

reality test is the alleged employee's economic dependence on the employer.” Id.

       52.     As mentioned above, Defendants controlled all aspects of the services provided by

the Plaintiff and FLSA Members.

       53.     At all material times, Plaintiff and FLSA Members were individual employees

pursuant to 29 USC § 206-207.

       54.     At all material times, Defendants have been employers within the meaning of § 3(d)

of the FLSA. 29 U.S.C. § 203(d).

       55.     Moreover, the Fair Labor Standards Act (“FLSA”) defines the term “employer”

broadly to include “any person acting directly or indirectly in the interest of an employer in relation

to any employee.” 29 U.S.C. § 203(d).

       56.     The statutory definition of “employer” includes corporate officers, participating

shareholders, supervisors, managers, or other employees where that individual exercises some

supervisory authority over employees and is responsible in whole or in part for the alleged
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violation. See id.; Reich v. Circle C. Investments, Inc., 998 F.2d 324, 329 (5th Cir. 1993); Donovan

v. Grim Hotel Co., 747 F.2d 966, 971-72 (5th Cir. 1984).

       57.     Foxx is the majority interest holder and CEO for Top 1% and is responsible for the

day to day management of Top 1%, including policy-making decisions related to the manner in

which to compensate and classify Plaintiff and FLSA Members.

       58.     Foxx is involved in the day-to-day business operation of Top 1%.

       59.     Foxx has responsibility for the supervision of the Plaintiff and FLSA Members.

       60.     Foxx is responsible for decisions related to the compensation or lack thereof paid

to Elston and FLSA Members.

       61.     Foxx has the authority to hire and fire employees, the authority to direct and

supervise the work of employees, the authority to sign on the business's checking accounts,

including payroll accounts, and the authority to make decisions regarding employee compensation

and capital expenditures.

       62.     Foxx controlls the nature, pay structure, and employment relationship of the

Plaintiff and FLSA Members.

       63.     As such, Top 1% and Foxx are the employers of the Plaintiff and FLSA Members

within the meaning of § 3(d) of the FLSA, and are jointly and severally liable for all damages.

       64.     “To qualify for enterprise coverage, Defendants must ‘ha[ve] employees engaged

in commerce or in the production of goods for commerce, or ha[ve] employees handling, selling,

or otherwise working on goods or materials that have been moved in or produced for commerce

by any person; and is an enterprise whose annual gross volume of sales made or business done is

not less than $500,000.’” Id. (citing 29 U.S.C. § 203(s)(1)(A)(i) and (ii)). “The phase ‘engaged in
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commerce’ is interpreted broadly and liberally.” Id. (citing Alonso v. Garcia, 147 Fed. Appx.

815, 816 (11th Cir. 2005)).

       65.     At all material times, Defendants have been an enterprise within the meaning of

3(r) of the FLSA. 29 U.S.C. § 203(r).

       66.     At all material times, Defendants have been an enterprise in commerce or in the

production of goods for commerce within the meaning of 3(s)(1) of the FLSA because it has had

employees engaged in commerce. 29 U.S.C. § 203(s)(1).

       67.     Specifically, Defendants’ employees have sold wealth coaching and consulting

services that have been moved or sold in interstate commerce to Defendants’ patrons.

       68.     Additionally, Defendants’ employees, including the Plaintiff and FLSA Members,

have provided services and handled materials that have been moved or produced in interstate

commerce and were used in the course of Defendants’ business operations.

       69.     Defendants advertise on the internet, and through pod casts that are broadcast

worldwide, process credit cards from out of state patrons, communicate via mail, email, and

telephone with patrons outside of the State of Florida, and sell their merchandise and services

across state lines and in other countries.

       70.     Defendants have had, and continue to have, an annual gross business volume in

excess of the statutory standard.

       71.     The Plaintiff and FLSA Members are not exempt from the overtime and minimum

wage requirements under the FLSA.

       72.     Defendants’ decision to treat the Plaintiff and FLSA Members as independent

contractors as opposed to employees was willful and not based upon a good faith basis that such
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decisions were in compliance with the FLSA, therefore the Plaintiff and FLSA Members are

seeking liquidated damages required by the FLSA.

       73.     Plaintiff and FLSA Members have retained undersigned counsel to prosecute these

claims and seek reimbursement of attorney fees and costs incurred pursuant to the FLSA.

                         COUNT I: VIOLATION OF 29 U.S.C. § 206

       74.     The Plaintiff and FLSA Members re-allege and re-aver the allegations in

paragraphs 1 through 73 as if fully set forth herein.

       75.     Defendants failed to compensate Elston and the FLSA Members for work they

performed during the last three years in violation of 29 U.S.C. § 206.

       76.     The violation by Defendants has resulted in damages to Elston and the FLSA

Members.

       WHEREFORE, Elston and the FLSA Members seek the following relief:

               a. Designation of this action as a collective action on behalf of the Plaintiff and FLSA

                   Members and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

                   similarly situated members of an FLSA Opt-In Class, appraising them of the

                   pendency of this action, permitting them to assert timely FLSA claims in this action

                   by filing individual Consents to Sue pursuant to 29 U.S.C. §216(b) and appointing

                   Plaintiff and their counsel to represent the Collective Action members;

               b. Declaration, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and practices

                   complained of herein are in violation of the maximum hour and minimum wage

                   provisions of the FLSA;

               c. Overtime compensation for all hours worked over forty in a workweek at the

                   applicable rate of time-and-a-half;
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                d. All unpaid wages and overtime compensation due under the FLSA;

                e. All liquidated damages due under the FLSA;

                f. Reasonable attorney’s fees, costs and expenses of this action as provided by the

                    FLSA; and

                g. Such other relief to which Plaintiff and Class Members may be entitled, at law

                    or in equity.

                          COUNT II: VIOLATION OF 29 U.S.C. § 207

        77.     Elston and the FLSA Members re-allege and re-aver the allegations in paragraphs

1 through 73 as if fully set forth herein.

        78.     Defendants required Elston and the FLSA Members to work more than forty (40)

hours per week during the three years prior to the filing of this Complaint, and did not compensate

them at the FLSA mandated time-and-a-half rate for hours in excess of forty (40) per workweek

as required by 29 U.S. C. § 207.

        79.     Such failure to pay overtime wages is a violation of 29 U.S. C. § 207.

        80.     The violation by Defendants has resulted in damages to Elston and the FLSA

Members.

        WHEREFORE, Elston and the FLSA Members seek the following relief:

                a. Designation of this action as a collective action on behalf of the Plaintiff and FLSA

                    Members and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all

                    similarly situated members of an FLSA Opt-In Class, appraising them of the

                    pendency of this action, permitting them to assert timely FLSA claims in this action

                    by filing individual Consents to Sue pursuant to 29 U.S.C. §216(b) and appointing

                    Plaintiff and their counsel to represent the Collective Action members;
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                b. Declaration, pursuant to 29 U.S.C. §§2201 and 2202, that the acts and practices

                      complained of herein are in violation of the maximum hour and minimum wage

                      provisions of the FLSA;

                c. Overtime compensation for all hours worked over forty in a workweek at the

                      applicable time-and-a-half rate;

                d. All unpaid wages and overtime compensation due under the FLSA;

                e. All liquidated damages due under the FLSA;

                f. Reasonable attorney’s fees, costs and expenses of this action as provided by the

                      FLSA; and

                g. Such other relief to which Plaintiff and Class Members may be entitled, at law

                      or in equity.

                                           JURY DEMAND

      Elston and the FLSA Members demand to have a trial by jury on all issues wherein a jury

trial is permitted.




                                                         /s/ Jack C. Morgan, III
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